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                  EXHIBIT 5
(Exhibit to Strzok’s June 15, 2022 Notice of
          Supplemental Discovery)
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MacColl, Christopher

From:                             Humphreys, Bradley (CIV) <Bradley.Humphreys@usdoj.gov>
Sent:                             Wednesday, May 25, 2022 2:58 PM
To:                               MacColl, Christopher; Lynch, Christopher M. (CIV); Abbuhl, Joshua (CIV); Gaffney,
                                  Michael J. (CIV)
Cc:                               Goelman, Aitan; salzman@hellerhuron.com; Konkel, Kaitlin; Jeffress, Amy; Katerberg,
                                  Robert J.
Subject:                          RE: Strzok v. Garland - Request for Deposition Dates for Christopher Wray


Hi Chris,

Thanks for your email and for flagging this issue on the call. We’ve conferred, and defendants’ position is that it’s
premature to discuss dates for Director Wray. In our view, Director Wray’s deposition could be appropriate, if at all,
only after depositions of Ms. Will and Mr. Bowdich.

As for Ms. Will, we reached out to her as you asked to see if she’d be willing to come to DC for her June 15
deposition. We think that’s going to work out, fortunately for us all. We should be able to confirm this week.

Best,
Brad

From: MacColl, Christopher <CMacColl@zuckerman.com>
Sent: Wednesday, May 18, 2022 4:22 PM
To: Lynch, Christopher M. (CIV) <Christopher.M.Lynch@usdoj.gov>; Humphreys, Bradley (CIV)
<Bradley.Humphreys@usdoj.gov>; Abbuhl, Joshua (CIV) <Joshua.Abbuhl@usdoj.gov>; Gaffney, Michael J. (CIV)
<Michael.J.Gaffney@usdoj.gov>
Cc: Goelman, Aitan <AGoelman@zuckerman.com>; salzman@hellerhuron.com; Konkel, Kaitlin
<Kaitlin.Konkel@arnoldporter.com>; Jeffress, Amy <Amy.Jeffress@arnoldporter.com>; Katerberg, Robert J.
<Robert.Katerberg@arnoldporter.com>
Subject: [EXTERNAL] Strzok v. Garland - Request for Deposition Dates for Christopher Wray

Chris, Mike, Brad, Josh,

Pleasure speaking earlier. As I mentioned, we would like to take the deposition of Christopher Wray. Please let us know
what dates will work.

Best,
Chris



                            Christopher MacColl
                            Zuckerman Spaeder LLP
                            CMacColl@zuckerman.com




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